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                 IN THE UNITED STATES DISTRICT COURT
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 RD EXPEDITED, INC.,                            )
                                                )
                Plaintiff,                      )
                                                )
 v.                                             )     Case No.:
                                                )
 WESCO INSURANCE COMPANY,                       )
                                                )
                Defendant.                      )
                                                )


                                 NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446, Defendant Wesco Insurance

Company (“Wesco”) hereby gives notice that it is timely removing this civil action to the

United States District Court for the Northern District of Illinois because the amount in

controversy exceeds the jurisdictional limits and there is complete diversity of citizenship

among the parties. In support of this Notice of Removal, Wesco states as follows:

                                 NATURE OF THE CASE

       1.     On May 23, 2022, Plaintiff RD Expedited, Inc. (“RD Expedited”) filed a

Complaint (“Complaint”) in the lawsuit RD Expedited, Inc. v. Wesco Insurance Company, Case

No. 2022-L-004594, in the Circuit Court of Cook County, Illinois (the “Lawsuit”). A copy of

the Complaint (including exhibits) is attached as Exhibit A.

       2.     On May 25, 2022, Wesco was served with a copy of the Complaint and

Summons in the Lawsuit. A copy of the Summons is attached as Exhibit B.

       3.     Plaintiff RD Expedited’s Complaint alleges that Wesco has an obligation to

defend RD Expedited in connection with the claims asserted against it in an underlying action

(the “Jones Lawsuit”) under a Commercial Auto Liability Policy issued by Wesco and asserts

claims against Wesco for breach of contract, unreasonable and vexatious conduct (215 ILCS

5/155), estoppel, waiver, and declaratory judgment.

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                             REQUIREMENTS FOR REMOVAL

        4.      This Notice of removal is timely, pursuant to 28 U.S.C. § 1446(b), because it is

filed within thirty (30) days from the date Wesco was served with the Complaint in the Lawsuit.

        5.      Removal is proper under 28 U.S.C. § 1441. The Circuit Court of Cook County,

Illinois, the court in which the Lawsuit is pending, is located within the jurisdiction of the

United States District Court for the Northern District of Illinois and none of the defendants are

citizens of Illinois.

        6.      Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of all process,

pleadings, and orders filed and served to date in the action are attached hereto as Exhibits A

& B.

        7.      Pursuant to 28 U.S.C. § 1446(d), written notice of the removal of this action

will be given to counsel for RD Expedited and a Notice of Filing of the Notice of Removal will

be filed with the Clerk of the Circuit Court of Cook County.

        8.      This action is a civil action over which this Court has original jurisdiction

pursuant to 28 U.S.C. § 1332, and is one which may be removed to this Court by Wesco

pursuant to the provisions of 28 U.S.C. § 1441(b). More specifically, removal is based on the

diversity of citizenship and the amount in controversy well exceeds the sum of $75,000,

exclusive of interest and costs.

        9.      Plaintiff RD Expedited is an Illinois corporation with its principal place of

business in Countryside, Illinois.

        10.     Defendant Wesco is a Delaware company with its principal place of business in

New York. For purposes of diversity, Defendant Wesco is a citizen of Delaware and New York.

        11.     For the purposes of diversity jurisdiction, a corporation is deemed a citizen of

the state in which it is incorporated and the state where it has its principal place of business.

28 U.S.C. § 1332(c).


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        12.     As all parties are citizens of different states, the requirement of complete

diversity is satisfied.

        13.     It is apparent that the amount in controversy requirement is satisfied because

Plaintiff RD Expedited has tendered the Jones Lawsuit, which seeks compensatory damages in

the amount of $30,000,000, to Defendant Wesco for a defense and indemnification under a

Commercial Auto Liability Policy which RD Expedited alleges in the Lawsuit provides

$1,000,000 of insurance coverage. Plaintiff RD Expedited further seeks in the Lawsuit an

award of all remedies permitted under 215 ILCS § 5/155.

        WHEREFORE, Wesco respectfully removes this case from the Circuit Court of Cook

County, Illinois to the United States District Court for the Northern District of Illinois based

on diversity jurisdiction.

Dated: June 24, 2022

                                      Respectfully Submitted,

                              By:     /s/ James J. Hickey
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